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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBlA

 

UNITED STATES OF AMERICA,
Plaintiff,

Civil Action No.: 11-639 (RMC)

v.

EUCLID OF VIRGINIA, INC., et al.

Defendants.

 

STIPULATION OF SETTLEMENT AND DISMISSAL WITHOUT PREJUDICE

The United of America, by and through undersigned counsel, and Defendants, Euclid of
Virginia, lnc., Koo L. Yuen, Patricia Yuen, Koo Yuen Life lnsurance Trust, Patricia Yuen Life
lnsurance Trust, Yuen Children’s Trust, 5601 Ager, LLC, and 225 McKendree, LLC, by and
through undersigned counsel, hereby stipulate as follows:

l. That the above-captioned civil action shall be settled and dismissed pursuant to
the terms of the attached Settlement Agreement. See Exhibit One.

2. This Stipulation shall be binding upon and inure to the benefit of the Parties and
their respective successors and assigns

3. The parties shall bear their own attomey’s fees and costs.

4. The Court shall retain jurisdiction of this matter to resolve any claim of
noncompliance With the Settlement Agreement and enforce the terms thereof.

IN WITNESS WHEREOF, the Parties hereto, through their respective counsel of record,

have stipulated to the foregoing

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RONALD C. MACHEN JR.
United States Attorney

For the District of Columbia
D.C. Bar No. 447889

/s/
RUDOLPH CONTRERAS
Chief, Civil Division
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/s/
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COUNSEL FOR DEFENDANTS

PURSUANT TO STIPULATION, IT IS SO ORD ED, this g l day of July, 201 l.

/MW

RbsEMARY M/CoLLYER ' ’
United States District Court Judge

